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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST LITIGATION                             Civil No. 18-cv-1776 (JRT/HB)


This document relates to: All Actions

And
                                                        ORDER REGARDING BRIEFING
Winn-Dixie Stores, Inc., et al v Agri Stats, Inc., et   DEADLINES AND WORD LIMITS
al, Civil No. 19-cv-1578 (JRT/HB)

Commonwealth of Puerto Rico v Agri Stats, Inc., et
al, Civil No. 19-cv-2723 (JRT/HB)


       This matter is before the Court on the parties’ Joint Letter Proposal Regarding

Briefing Deadlines and Word Limits, filed in In Re Pork Antitrust Litigation, Case No. 18-

cv-1776 (JRT/HB) (hereafter “the Class Actions”) (Jt. Ltr. [Doc. No. 422].) The joint letter

relates to the Defendants’ anticipated motions to dismiss the amended complaints that the

putative class Plaintiffs filed in the Class Actions on November 6, 2019 [Doc. Nos. 390, 392,

399], that the Commonwealth of Puerto Rico filed in Commonwealth of Puerto Rico v. Agri-

Stats Inc., et al., Case No. 19-cv-2723 on December 6, 2019 [Doc. No. 15] and that the

Winn-Dixie Plaintiffs filed in Winn-Dixie Stores, et al. v. Agri Stats Inc., et al., Case No. 19-

cv-1578 on December 6, 2019 [Doc. No. 81].

       The Court ordered the parties in all of the above-captioned actions to meet and confer

on a common briefing schedule and word limits for their respective submissions. (Oct. 24,

2019, Order [Doc. No. 389].) The parties report that they have agreed on a proposed briefing

schedule (Jt. Ltr. at 1) but that they disagree on whether briefing should be consolidated across

all of the actions or whether the motions to dismiss in the Puerto Rico and Winn-Dixie cases
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should be briefed separately. As a result, they also disagree on word limits for the briefing.

Defendants urge a consolidated approach to briefing across all actions, pointing out that the

arguments will be substantially overlapping. They further urge that if the Court does not order

consolidated briefing across all actions, the Court should at least set a total combined word

count limit for the Plaintiffs collectively and leave it to them to divide it up as they see fit. Id.

at 2. The Class Actions Plaintiffs argue that the Winn-Dixie and Puerto Rico motions should

be briefed separately, and that they would be prejudiced in their ability to fully present the

arguments on behalf of the three classes if they had to consolidate those arguments with those

of the Plaintiffs who have chosen to bring direct actions. Id. at 3. Finally, Winn-Dixie and

Puerto Rico take no position other than that they want to make sure they have the opportunity

to brief separately any arguments that are specific to their respective amended complaints. Id.

at 4.

        After consideration of the parties’ positions and arguments, after consultation with the

Honorable John R. Tunheim, United States District Judge, and based upon all of the files and

proceedings herein, the Court has concluded that briefing on the motions to dismiss shall be

consolidated for the Class Actions, but that there shall be separate briefing on the motions to

dismiss in each of the Winn-Dixie and Puerto Rico cases, respectively.

        IT IS THEREFORE ORDERED THAT:

Briefing in Class Actions (Case No. 18-cv-1776):

        1.       Defendants’ motions to dismiss, together with all supporting documents, must
                 be filed on or before January 15, 2020.

        2.       Plaintiffs’ memoranda in opposition to the motions, together with all
                 supporting documents, must be filed on or before February 21, 2020.

        3.       Defendants’ reply memoranda must be filed on or before March 13, 2020.


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      4.       For Defendants’ joint motion directed to all Class Plaintiffs, the opening and
               reply brief shall be no more than 27,000 words in total, and Plaintiffs
               collectively shall have no more than 27,000 words for their single, joint
               opposition brief.

      5.       For Defendants’ joint motion directed specifically to the two indirect-
               purchaser classes, the opening and reply brief shall be no more than 15,000
               words in total, and the indirect-purchaser class Plaintiffs collectively shall
               have no more than 15,000 words for their single, joint opposition brief.

      6.       For any motions to dismiss that will be filed by individual Defendants in the
               Class Actions, each moving Defendant shall have no more than 4,000 words in
               total for its opening and reply briefs, and Plaintiffs collectively shall have no
               more than 4,000 words in response to each such motion, filed either in single,
               joint response briefs to each motion or in a consolidated joint response brief to
               all such motions.

Briefing in Winn-Dixie (Case No. 19-cv-1578) and Puerto Rico (Case No. 19-cv-2723):

      1.       Defendants’ motions to dismiss, together with all supporting documents, must
               be filed on or before January 15, 2020.

      2.       Plaintiffs’ memoranda in opposition to the motions, together with all
               supporting documents, must be filed on or before February 21, 2020.

      3.       Defendants’ reply memoranda must be filed on or before March 13, 2020.

      4.       For Defendants’ joint motion in each case, the opening and reply brief in each
               case shall be no more than 27,000 words in total, and Plaintiffs in each case
               shall have no more than 27,000 words for their respective opposition briefs.

      5.       For any motions to dismiss that will be filed by individual Defendants, each
               moving Defendant shall have no more than 3,000 words in total for its opening
               and reply briefs in each case, and Plaintiffs in each case shall have no more
               than 3,000 words in response to each such motion, filed either in single
               response briefs or in a consolidated response brief.




Dated: December 20, 2019                     s/ Hildy Bowbeer
                                            HILDY BOWBEER
                                            United States Magistrate Judge




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